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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )      Docket Number: 1:00CR05209-15 OWW
                                                  )
Salem Yacoub GRAIR                                )
                                                  )


On February 11, 2002, the above-named was placed on supervised release for a period of
three years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                    Respectfully submitted,

                                    /s/ Melinda Peyret

                                   Melinda S. Peyret
                             United States Probation Officer

Dated:         November 3, 2005
               Fresno, California


REVIEWED BY:          /s/ Bruce Vasquez
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer




                                                                                     R ev. 03/2005
                                                                                    P R O B 35.M R G
           Case 1:00-cr-05209-LJO Document 690 Filed 11/17/05 Page 2 of 2


Re:   GRAIR, Salem Yacoub
      Docket Number: 1:00CR05209-15 OWW
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.

 November 17, 2005                             /s/ Oliver W . W anger
Date                                           Oliver W. Wanger
                                                United States District Judge

MSP:mb
Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                  R ev. 03/2005
                                                                                 P R O B 35.M R G
